PROB. 12
(Rev.aiaa)CaSe 2:OO-cr-20068-BBD-dkv Document 54 Filed 07/05/05 Page 1 of 5 Page|D 65
UNITED STATES DISTRICT COURT
Ftl.ED BY __ _____ D.C.
for

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WESTERN DISTRICT OF TENNESSEE

U.S.A. vs. Corev D. Jones 00 ¢My

       

Petition on Probation and Supervised Release

COMES NOW Dawn L. Brown , PR()BATION OFFICER OF THE COURT presenting an official
report upon the conduct and attitude of Corey D. J ones who Was placed on supervision by the Honorable Bernice
B. Donald sitting in the Court at Mernphis, TN , on the 23rd day of Augu_st , L)QL, Who fixed the period of
supervision at three g3) years *, and imposed the general terms and conditions theretofore adopted by the Court
and also imposed special conditions and terms as follows:

 

 

1. The defendant shall participate as directed in a program (outpatient and/ or inpatient) approved by the
Probation Ot`iicer for the testing and treatment of narcotic addiction or drug or alcohol dependency Further,
the defendant shall be required to contribute to the costs of services for such treatment not to exceed an
amount determined reasonable by the Probation Oi`flce based on ability to pay or availability of third party
payment and in conformance With the Probation Oftice’s Sliding Scale for Substance Abuse Treatment
Services.

2. The defendant shall obtain a General Education Diploma (GED).
"‘ Supervision began Novemher 30, 2004.
RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
See Attached

PRAYING THAT THE COURT WILL ORDER a SUMMONS be issued for Corey D. J ones to appear before
the United States District Court to answer charges of Supervised Release Violation.

ORDER OF COURT I declare under penalty of peijury that the
foregoing is true and correct.

Considered and ordered / y{/~ day Exe d _,

0 , 2005 and ordered On ml gill ¢Q~O 05

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in the ove case. % &w/Q
{)‘AM_, v

'Ur+ted StatesVPrbbation Off`icer

 
     

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Uni d States District Judge Place: '

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‘h mile 55 and/or 32{b) FHCrP on

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RE: Corey D. Jones
l)ocket No: 2:00CR20068-01
Probation Form 12
Page 2

RESPECTFULLY PRESENTING PETITION F()R ACTION OF COURT FOR CAUSE AS FOLLOWS:

The defendant, Corey D. Jones, has violated the following conditions of his term of Superviscd Release:

The defendant shall refrain from any unlawful use of a controlled substance
Mr. Jones tested positive for Marijuana on March 7, and May 31, 2005 .

The defendant shall participate in substance abuse treatment and testing as deemed appropriate by the
Probation Ofi'lce.

On January 5, 2005 , the defendant was referred to the Alcohol and Chemical Abuse Rehab Center (ACAR) for drug
treatment and testing. The defendant failed to attend counseling sessions on March 9 and April 20, 2005. The
defendant also failed to submit to six (6) drug screens between lanuary 22, 2005 and June 8, 2005. Mr. J ones was
discharged from treatment due to continuous non-compliance on April 21 , 2005.

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VIOLATION WORKSHEET

Defendant Corey D.Jones, (707 EastTrigg,N|emphis,TN 38106)

Docket Number (Year-Sequence-Defendant 2:OOCR20068-01
No.)

 

DistrictIOffice Western District of Tennessee (Memphis)

Original Sentence Date
03 /_(_)_§_ l 1997

month day year
(If different than above):

Origina|
Districthffice

 

Original Docket Number (Year-Sequence-Defendant
No.)

 

List each violation and determine the applicable grade {see §7B1.1}:

Vio|ationjsf

 

Non-Compliance with Drug Treatment

 

Dmg Use

 

8. Most Serious Grade of Violation (Le §7B‘l.1(b)) B

9. Crimina| History Category (B §7B1.4(a))74 lll

 

10. Range of imprisonment (B §781.4(a}) 8 - 14 months

 

 

 

Having been convicted of a Class A Felony, the Statutory Maximum term of imprisonment is 60 months; U.S.C. § 3583(€)(3).
11. Sentencing Options for Grade B and C Violations Only (Check the appropriate box):

{} (a)|f the minimum term of imprisonment determined under §731_4 (Term of lmprisonment) is at least
one month but not more than six months, §731.3©)(1) provides sentencing options to imprisonment

{x} (b)lf the minimum term of imprisonment determined under §7B1_4 (Term of |mprisonment) is more
than six months but not more than ten months, §7B1.3©)(2) provides sentencing options to
imprisonment

{} (c)lf the minimum term of imprisonment determined under §7B‘l.4 (Term of |mprisonment) is more
than ten months, no sentencing options to imprisonment are available

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DEFENDANT: Corey D. Jones

12. Unsatisfied Conditions of Original Sentence

l_ist any restitution, fine, community confinement home detention, or intermittent confinement previously
imposed in connection with the sentence for which revocation is ordered that remains unpaid or unserved at
the time of revocation {see §781.3(d)}:

 

 

 

 

Restitution ($) N/A Community Confinement NIA

Fine ($) NIA Home Detention N/A

Other NIA intermittent Connnement NIA
13. Supervised Re|ease

lf probation is to be revoked, determine the length, if any, of the term of supervised release according to the
provisions Of §§5D1.1-1.3{See §§781.3(9)(1)}.

Term: to years
lf supervised release is revoked and the term of imprisonment imposed is less than the maximum term of
imprisonment imposab|e upon revocation, the defendant may, to the extent permitted by law, be ordered to

recommence supervised release upon release from imprisonment {see 18 U_S.C. §3583(e) and §7B'l_3(g)(2)}_

Period of supervised release to be served following release from imprisonment

14. Departure

List aggravating and mitigating factors that may warrant a sentence outside the applicable range of
imprisonment

 

 

15. Ofticia| Detention Adjustment {see §7B1.3(e)}: months days

Mai| documents to: United States Sentencing Commission, 1331 Pennsy|vania Avenue, N.W.
Suite 1400, Washington, D.C., 20004, Attention: Monitoring Unit

- WESTRNE DISRTOF TNNEESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 54 in
case 2:00-CR-20068 was distributed by faX, mail, or direct printing on
.luly 6, 2005 to the parties listed.

 

 

Thornas L. Parker

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ- Memphis
165 Madison Ave.

Ste. 2000

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

